            Case 3:23-cv-00247-KC Document 40 Filed 07/18/24 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 ARMANDO AGUILAR MORALES et                     §
 al.,                                           §
                                                §
      Plaintiffs,                               §
                                                §
 v.                                             §            CAUSE NO. EP-23-CV-247-KC
                                                §
 UNITED STATES OF AMERICA,                      §
                                                §
      Defendant.                                §

                                              ORDER

         On this day, the Court considered the above-captioned case. On May 22, 2024, the

parties informed the Court that they reached an agreement to resolve this matter and are working

to finalize settlement. Notice Settlement, ECF No. 28. In response, the Court appointed a

guardian ad litem to represent minor J.J.A.R.’s interests and scheduled a hearing to assess the

fairness of the proposed settlement as to Plaintiffs Armando Aguilar Morales and J.J.A.R.’s

claims. May 23, 2024, Order 1, ECF No. 29; June 13, 2024, Order 2, ECF No. 31. However,

because Plaintiffs Pedro Ramos Perez and Francisco Ramos Itzep’s settlement agreement is

separate from Aguilar Morales and J.J.A.R.’s settlement agreement, and does not require the

Court’s approval, the Court ordered the parties to “submit final closing papers on or before July

17, 2024,” as to those claims. June 20, 2024, Order 1–2, ECF No. 33. That date passed, and the

Court did not receive final closing papers.

         On July 18, 2024, during the aforementioned settlement hearing, counsel for the parties

informed the Court that after the Aguilar Morales-J.J.A.R. settlement agreement received the

Court’s approval, both that agreement and the Ramos Perez-Ramos Itzep settlement agreement

would be submitted to the Department of Justice for final approval and distribution of funds.
            Case 3:23-cv-00247-KC Document 40 Filed 07/18/24 Page 2 of 2




Thus, the parties requested sixty days to obtain final approval of both settlement agreements and

submit closing papers as to all four Plaintiffs. The Court granted the requested extension on the

record.

          Accordingly, unless the parties submit final closing papers on or before September 16,

2024, the Court will dismiss the case without costs and without prejudice to the rights of any

party to move within thirty days thereafter to reopen if settlement has not, in fact, been

consummated.

          IT IS FURTHER ORDERED that Defendant’s Motion to Dismiss, ECF No. 13, is

DENIED as moot without prejudice to refiling if the settlement agreements do not receive final

approval.

          SO ORDERED.

          SIGNED this 18th day of July, 2024.




                                       KATHLEEN CARDONE
                                       UNITED STATES DISTRICT JUDGE




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